Case 2:05-cr-20227-SH|\/| Document 12 Filed 08/03/05 Page 1 of 2 Page|D 11

IN THE UNITED STATES DISTRICT COURT F""-Ef»" 9 /alh¢: D_G_
FOR THE WESTERN DISTRICT 0F TENNESSEE

 

 

 

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UNITED STATES 0F AMERicA w f """"*ip 55
v. No. 05-20227-Ma
Claudy Redmond

 

ORDER SPEC]FY[NG PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private counsel
to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18 U.S.C.
§3l6l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while attempting to
obtain private counsel. It is therefore ORDERED that the time period of B'§ '0 5 through,
B- l § ' 05 be excluded from the time limits imposed by the Speedy Trial Act for trial
of this case while the defendant is attempting to obtain private counsel

ARRAIGNMENT reset to Wednesday, g;/_ZQ, 2005, at 10:00 a.m. before Magistrate

Judge HM°"“ .

This j d day of `@Jhti, 2005 .

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UNITED STATES MAGISTRATE .TUDGE

Thfs doctment entered on the docket sh et ln omp|' nce
with ama 55 and/or 32cb1 FRch on _{_"_'£_'ag /Z

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

